

ORDER

PER CURIAM:
AND NOW, this 5th day of November, 1997, James Michael Walsh having been suspended from the practice of law for one year before naval tribunals by Order of the Judge Advocate General filed April 22, 1997; the said James Michael Walsh having been directed on July 29, 1997, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and upon consideration of the responses filed, the request for a hearing is denied and it is
ORDERED that James Michael Walsh is suspended from the practice of law in this Commonwealth for a period of one year, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
